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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

D.A.N. Joint Venture III, L.P.
                                      Plaintiff,
v.                                                     Case No.: 1:18−cv−00349
                                                       Honorable Robert M. Dow Jr.
Dorothea Touris, et al.
                                      Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 27, 2018:


        MINUTE entry before the Honorable Robert M. Dow, Jr: Defendant James Paul's
motion for an extension of time [15] is granted. Notice of motion date of 2/28/2018 is
stricken and no appearances are necessary on that date. Mailed notice(cdh, )




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